               Case 19-29091            Doc 16    Filed 12/16/19 Entered 12/16/19 12:16:26                           Desc Main
                                                    Document     Page 1 of 3                      [ ] AMENDED
                                      UNITED STATES BANKRUPTCY COURT
                                       WESTERN DISTRICT OF TENNESSEE
_________________________________________________________________________________________________________________

In re:    (1) Danielle Nicole Pearson                                                       Case No. 19-29092-PJD

        (2)
Debtor(s).                                                                Chapter 13
_________________________________________________________________________________________________________________

                                                CHAPTER 13 PLAN
_________________________________________________________________________________________________________________

ADDRESS: (1) 5003 Deneen Dr., Memphis, TN 38109_________                  (2)________________________________________________
             ________________________________________                       ________________________________________________

PLAN PAYMENT:

     DEBTOR (1) shall pay $_410.00__________       (   ) weekly, (   ) every two weeks, (   ) semi-monthly, or ( ) monthly, by:

            ( ) PAYROLL DEDUCTION from: __________________________________               OR ( ) DIRECT PAY.
                                             ___________________________________
                                             ___________________________________
     DEBTOR (2) shall pay $ ______________ ( ) weekly, ( ) every two weeks, ( ) semi-monthly, or ( ) monthly, by:

         ( ) PAYROLL DEDUCTION from: _______________________________________                                    OR    ( ) DIRECT PAY.
                                                 _______________________________________
                                                 _______________________________________
1.    THIS PLAN [Rule 3015.1 Notice]:

         (A) CONTAINS A NON-STANDARD PROVISION. [See plan provision #19]                                                 (   ) YES () NO

          (B) LIMITS THE AMOUNT OF A SECURED CLAIM BASED ON A VALUATION OF THE                                           (   ) YES ( ) NO
         COLLATERAL FOR THE CLAIM. [See plan provisions #7 and #8]

         (C) AVOIDS A SECURITY INTEREST OR LIEN. [See plan provision #12].                                               (   ) YES ( ) NO

2.    ADMINISTRATIVE EXPENSES: Pay filing fee and Debtor(s)’ attorney fee pursuant to Confirmation Order.

3.    AUTO INSURANCE: (        ) Included in Plan; OR () Not included in Plan; Debtor(s) to provide proof of insurance at §341meeting.

4.    DOMESTIC SUPPORT: Paid by: ( ) Debtor(s) directly, ( ) Wage Assignment, OR (              ) Trustee to:          Monthly Plan Payment:

     ____________________________________; ongoing payment begins _______________________                            $ ____________________
                         Approximate arrearage: ________________________________________                             $ ____________________
     ____________________________________; ongoing payment begins _______________________                            $ ____________________
                         Approximate arrearage: ________________________________________                             $ ____________________

5.    PRIORITY CLAIMS:
     ___________________________________         Amount: ___________________________________                         $ ____________________
     ___________________________________         Amount: ___________________________________                         $ ____________________

6.    HOME MORTGAGE CLAIMS: (              ) Paid directly by Debtor(s); OR ( ) Paid by Trustee to:

     ____________________________________; ongoing payment begins _______________________                            $ ____________________
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                            Approximate arrearage: ________________
                                                    Document           Interest2 ________________%
                                                                     Page         of 3                       $ ____________________
   ____________________________________; ongoing payment begins _______________________                      $ ____________________
                            Approximate arrearage: _________________ Interest ________________%              $ ____________________
7. SECURED CLAIMS:
    [Retain lien 11 U.S.C. §1325 (a)(5)]              Value of Collateral:            Rate of Interest:          Monthly Plan Payment:
    __________________________________               _________________               ______________%         $ ___________________
    __________________________________               _________________              ______________%          $ ___________________
    __________________________________               _________________              ______________%          $ ________________ ___

8.   SECURED AUTOMOBILE CLAIMS FOR DEBT INCURRED WITHIN 910 DAYS OF FILING, AND OTHER SECURED
     CLAIMS FOR DEBT INCURRED WITHIN ONE YEAR OF FILING:
      [Retain lien 11 U.S.C. §1325(a)]   Value of Collateral: Rate of Interest:   Monthly Plan Payment:
     _AAA Car Central___________________ _$12,920.10___       ___7.500_______%   $ __262.00___________
     __________________________________  _____________        ______________%   $ ___________________
     __________________________________  _____________        ______________%   $ ___________________

9.   SECURED CLAIMS FOR WHICH COLLATERAL WILL BE SURRENDERED; STAY IS TERMINATED UPON CONFIRMATION FOR
     FOR THE LIMITED PURPOSE OF GAINING POSSESSION AND COMMERCIALLY REASONABLE DISPOSAL OF COLLATERAL:
     ______________________________________ Collateral: __________________________________________________________________
     __________________________________             Collateral: ___________________________________________________________

10. SPECIAL CLASS UNSECURED CLAIMS:
                                                    Amount:                          Rate of Interest:           Monthly Plan Payment:
     __________________________________             _________________              ______________%           $ _______________ ____
     __________________________________             _________________              ______________%           $ ___________________
     __________________________________             _________________              ______________%           $ ___________________

11. STUDENT LOAN CLAIMS AND OTHER LONG TERM CLAIMS:
      _Dept. of Ed/NELN (deferred & shall survive the plan)         ( )     Not provided for     OR ( ) General unsecured creditor
     ____($66,623) _______________________ ___________              ( )      Not provided for     OR ( ) General unsecured creditor

12. THE JUDICIAL LIENS OR NON-POSSESSORY, NON-PURCHASE MONEY SECURITY INTEREST(S) HELD BY THE
    FOLLOWING CREDITORS ARE AVOIDED TO THE EXTENT ALLOWABLE PURSUANT TO 11 U.S.C.§522(f):
   ___________________________________________________________________________________________________________
___________________________________________________________________________________________________________

13. ABSENT A SPECIFIC COURT ORDER OTHERWISE, ALL TIMELY FILED CLAIMS, OTHER THAN THOSE
     SPECIFICALLY PROVIDED FOR ABOVE, SHALL BE PAID AS GENERAL UNSECURED CLAIMS.

14. ESTIMATED TOTAL GENERAL UNSECURED CLAIMS: $26,841.00______________________.

15. THE PERCENTAGE TO BE PAID WITH RESPECT TO NON-PRIORITY, GENERAL UNSECURED CLAIMS IS:

     (  ) 10%, OR,

     (   ) THE TRUSTEE SHALL DETERMINE THE PERCENTAGE TO BE PAID AFTER THE PASSING OF THE FINAL BAR DATE.

16. THIS PLAN ASSUMES OR REJECTS EXECUTORY CONTRACTS:
     ______________l___________________________________________                    ( ) Assumes       OR    ( ) Rejects.
     __________________________________________________________                     ( ) Assumes      OR     ( ) Rejects.

17. COMPLETION: Plan shall be completed upon payment of the above, approximately 60 months.

18. FAILURE TO TIMELY FILE A WRITTEN OBJECTION TO CONFIRMATION SHALL BE DEEMED ACCEPTANCE OF PLAN.

19. NON-STANDARD PROVISION(S):
     __________________________________________________________________________________________________________
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   ANY NON-STANDARD PROVISION STATED ELSEWHERE IS VOID.

20. CERTIFICATION: THIS PLAN CONTAINS NO NON-STANDARD PROVISIONS EXCEPT THOSE STATED IN
   PROVISION 19.




   _/s/Veronica Fair-Miller_______________________________________          DATE: 12/16/2019___________________.
       Debtor(s)’ Attorney Signature or Pro Se Debtor(s)’ Signature(s)
       1703 Lockett Place
       Memphis, TN 38104
       901-343-1940 Telephone
       901-205-0640 Facsimile
       vfm@vfmlawfirm.com
